Case: 1:06-cr-00125-SO Doc #: 530 Filed: 04/11/07 1 of 2. PageID #: 2403




                             UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF OHIO
                                   EASTERN DIVISION




UNITED STATES OF AMERICA,                    )      Case No.: 1:06 CR 125-22
                                             )
       Plaintiff                             )      JUDGE SOLOMON OLIVER, JR.
                                             )
       v.                                    )
                                             )      ORDER ACCEPTING PLEA
MARTIN VALDEZ,                               )      AGREEMENT, JUDGMENT AND
                                             )      REFERRAL TO U. S. PROBATION
       Defendant                             )      OFFICE



       This case is before the Court on a Report and Recommendation filed by United States

Magistrate Judge Nancy A. Vecchiarelli, regarding the change of plea hearing of Martin Valdez,

which was referred to the Magistrate Judge with the consent of the parties.

       On May 9, 2006, the government filed a 36 count superseding indictment charging the

Defendant in two of those counts, for conspiracy to smuggle Aliens into and within the United

States, as defined in Title 8, United States Code, Section 1324(a)(1)(A)(v)(I), and Conspiracy to

Commit Mail Fraud, Wire Fraud, Document Fraud and Structuring Financial Transactions as

defined in Title 18, United States Code, Section 371 .

        On April 17, 2006, a hearing was held in which Defendant Valdez, entered a plea of not

guilty before Magistrate Judge Vecchiarelli. On January 22, 2007, Magistrate Judge Nancy
Case: 1:06-cr-00125-SO Doc #: 530 Filed: 04/11/07 2 of 2. PageID #: 2404




Vecchiarelli received Defendant Valdez’s plea of guilty to count 3, and issued a Report and

Recommendation (“R&R”) concerning whether the plea should be accepted and a finding of

guilty entered. Magistrate Judge Vecchiarelli filed her R&R on January 22, 2007.

       Neither party submitted objections to the Magistrate Judge’s R&R in the ten days after it

was issued.

       On de novo review of the record, the Magistrate Judge’s R&R is adopted. Defendant

Valdez is found to be competent to enter a plea and to understand his constitutional rights. He is

aware of the charges and of the consequences of entering a plea. There is an adequate factual

basis for the plea. The Court finds the plea was entered knowingly, intelligently, and

voluntarily. The plea agreement is approved.

       Therefore, Defendant Valdez is adjudged guilty of Count Three in violation of

Title 18 Section 371.

       IT IS SO ORDERED.



                                             /s/SOLOMON OLIVER, JR.
                                             UNITED STATES DISTRICT JUDGE
